      Case 1:22-cr-00417-RDP-NAD Document 25 Filed 05/26/23 Page 1 of 2                                     FILED
                                                                                                   2023 May-26 PM 02:35
                                                                                                   U.S. DISTRICT COURT
                                                                                                       N.D. OF ALABAMA




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA




UNITED STATES OF AMERICA                          *

vs.                                               *
                                                       Case No. 1:22-CR-00417-RDP-NAD-1
KRYSTAL DIANE PINKINS,                             *

       Defendant                                  *


      DEFENDANT’S AGREEMENT TO STIPULATE FEDERAL TERRITORIAL
                          JURISDICTION

       Comes now, the undersigned counsel of record for the Defendant, Krystal Diane Pinkins,

and states as follows:

       1. The Defendant was arraigned on December 15, 2022 on a four-count indictment.

           (Doc. 1)

       2. The United States has moved this Court, pursuant to Federal Rule of Evidence 201

           (c)(1), to take judicial notice of federal territorial jurisdiction of the crimes alleged in

           the indictments in the above referenced cases. (Doc. 20)

       3. The undersigned has reviewed the Government’s filing and does not oppose the

           Government’s request for the Court to take judicial notice of federal territorial

           jurisdiction of the crimes alleged in the indictments in the above referenced cases.1




1 The Defendant, Krystal Pinkins, was ordered to undergo a mental evaluation
(Doc. 17). The undersigned has not yet received the results of said
evaluation. The Defendant, Krystal Pinkins, has not expressly authorized the
undersigned to file this stipulation and may lack the competence to give such
an authorization. However, the undersigned is of the opinion that the
Government is correct in its filing (Doc. 20) and also seeks to promote
judicial economy in the trial in the above referenced cases.
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      Wherefore, premises considered, Counsel for the Defendant respectfully request this
Honorable Court take judicial notice of federal territorial jurisdiction to promote judicial
economy in the above referenced cases.

        Respectfully submitted 26th day of May, 2023.

                                                       /s/ Justin C. Wilson
                                                       Justin C. Wilson
                                                       Attorney for the Defendant




                                   CERTIFICATE OF SERVICE

        I, Justin C. Wilson, do hereby certify that I have on this the 26th day of May 2023, electronically

filed the foregoing with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to all CM/ECF participants in this case.




                                                       /s/ Justin C. Wilson
                                                       Justin C. Wilson
                                                       Attorney for the Defendant
